Case 8:20-cv-02437-MRW Document 23 Filed 11/03/21 Page 1 of 2 Page ID #:543



  1
  2
  3
  4
  5
  6
  7
  8
                          UNITED STATES DISTRICT COURT
  9
                        CENTRAL DISTRICT OF CALIFORNIA
 10
 11   LAMBERTO ROBILLOS VELASCO, )               Case No.: 8:20-cv-02437-MRW
                                    )
 12             Plaintiff,          )            {PROPOSED} ORDER AWARDING
                                    )            EQUAL ACCESS TO JUSTICE ACT
 13         vs.                     )            ATTORNEY FEES AND EXPENSES
                                    )            PURSUANT TO 28 U.S.C. § 2412(d)
 14   KILOLO KIJAKAZI,              )            AND COSTS PURSUANT TO 28
      Acting Commissioner of Social )            U.S.C. § 1920
 15   Security,                     )
                                    )
 16             Defendant           )
                                    )
 17
 18         Based upon the parties’ Stipulation for the Award and Payment of Equal

 19   Access to Justice Act Fees, Costs, and Expenses:

 20         IT IS ORDERED that fees and expenses in the amount of $3,200.00 as

 21   authorized by 28 U.S.C. § 2412, and costs in the amount of $402.00 as authorized

 22   by 28 U.S.C. § 1920, be awarded subject to the terms of the Stipulation.

 23   DATE: 1RYHPEHU  

 24                            ___________________________________
                               THE HONORABLE MICHAEL R. WILNER
 25                            UNITED STATES MAGISTRATE JUDGE

 26

                                              -1-
Case 8:20-cv-02437-MRW Document 23 Filed 11/03/21 Page 2 of 2 Page ID #:544



  1   Respectfully submitted,
  2   LAW OFFICES OF LAWRENCE D. ROHLFING
  3         /s/ Young Cho
      _________________________
  4   Young Cho
      Attorney for plaintiff Lamberto Robillos Velasco
  5
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26

                                             -2-
